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 1 United States Attorney
     Eastern District of Washington
 2   Thomas J. Hanlon
     Assistant United States Attorney
 3   402 E. Yakima Avenue, Suite 210
     Yakima, Washington 98901
 4   (509) 454-4425
                         IN THE UNITED STATES DISTRICT COURT
 5                         EASTERN DISTRICT OF WASHINGTON
 6 UNITED STATES OF AMERICA,

 7
                         Plaintiff,
 8                                                     NO: 1:19-CR-2032-SMJ-2
 9         vs.
10
                                                       GOVERNMENT’S NOTICE OF
11   DONOVAN QUINN CARTER                              INTENT FRE 609
     CLOUD,
12

13
                         Defendant.
14
           COMES NOW the Plaintiff, United States of America, by and through the
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     United States Attorney for the Eastern District of Washington, William D. Hyslop,
16
     and Assistant United States Attorneys, Thomas J. Hanlon and Richard C. Burson, and
17
     herein discloses the Government's intent to introduce evidence pursuant to Federal
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     Rule of Evidence 609 as follows:
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           As pertinent, Rule 609(a) of the Federal Rules of Evidence provides as follows:
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     The following rules apply to attacking a witness's character for truthfulness by
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     evidence of a criminal conviction:
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     (1) for a crime that, in the convicting jurisdiction, was punishable by death or by
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     imprisonment for more than one year, the evidence:
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     (B) must be admitted in a criminal case in which the witness is a defendant, if the
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     probative value of the evidence outweighs its prejudicial effect to that defendant; and
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 1 (2) for any crime regardless of the punishment, the evidence must be admitted if the

 2 court can readily determine that establishing the elements of the crime required

 3 proving-or the witness's admitting-a dishonest act or false statement.

 4           For purposes of impeachment, the Government intends to elicit on cross-
 5 examination and, if necessary, through public records, the following prior felony

 6 conviction:

 7      1)      On or about July 16, 2006, Defendant committed the offense of First Degree

 8              Assault with Deadly Weapon/Force, a felony offense, and Defendant was

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                convicted of such felony offense on May 7, 2007, and sentenced to 80

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                months imprisonment, in the Klickitat County Superior Court, in Cause
                Number 06-1-00125-9.
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        2)      On or about August 8, 2013, Defendant committed the offenses of Count 1,
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                First Degree Robbery, Count 2, Theft of a Firearm, Count 3, Attempt to
13
                Elude a Police Vehicle, and Count 4, Theft of Motor Vehicle, in Klickitat
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                County Superior Court, in Cause Number 13-1-00140-5. As to Count 1,
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                Defendant was sentenced to 84 months imprisonment.
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                                            ARGUMENT
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             The Ninth Circuit has outlined five factors that should guide the district court's
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     decision whether to admit evidence under Rule 609(a)(1):
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      1. the impeachment value of the prior crime
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      2. the point in time of the conviction and the witness' subsequent history
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      3. the similarity between the past crime and the charged crime
22
      4. the importance of the defendant's testimony
23
      5. the centrality of the credibility issue
24
             See United States v. Cook, 608 F.2d 1175, 1185 n. 8 (9th Cir. 1979)(en banc);
25
     see also United States v. Wallace, 848 F.2d 1464, 1473 n. 12 (9th Cir. 1988).
26
     Although the trial judge is not required to state his or her analysis of each of the five
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 1 factors with special precision, "the record should reveal, at a minimum, that the trial

 2 judge 'was aware of the requirements of Rule 609(a)(1).' " Wallace, 848 F.2d at 1473

 3 (quoting United States v. Givens, 767 F.2d 574, 579 80 (9th Cir. 1985)).

 4 Evidence of a prior conviction may be admitted for impeachment purposes if the

 5 probative value outweighs the prejudicial effect of admission. United States v.

 6 Martinez-Martinez, 369 F.3d 1076, 1088 (9th Cir. 2004), citing, United States v.

 7 Cook, 608 F.2d 1175, 1185 (9th Cir. 1979)(en banc), overruled on other grounds, Luce

 8 v. United States, 469 U.S. 38 (1984). “Rule 609(a)(1) presumes that all felonies are at

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     least somewhat probative of a witness’s propensity to testify truthfully.” United

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     States v. Estrada, 430 F.3d 606, 617 (2d Cir. 2005). “When a defendant takes the
     stand and denies having committed the charges offenses, he places his credibility
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     directly as issue.” United States v. Alexander, 48 F.3d 1477, 1489 (9th Cir.
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     1995)(citations omitted).
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           In Martinez-Martinez, the defendant was charged with attempted illegal reentry
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     into the United States. United States v. Martinez-Martinez, 369 F.3d at 1078. At trial,
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     the Government was permitted to impeach the defendant with his seven-year-old
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     felony conviction for possession of marijuana for sale. In considering whether to
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     permit the Government to use the prior conviction, the district court found that
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     credibility, specifically “the defendant’s character for honesty, is a factor that will be
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     weighed by the jury in this case.” Id. at 1088. The district court then allowed the
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     Government to impeach the defendant with his “sanitized” felony conviction. Id. The
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     Ninth Circuit found that the district court did not abuse its discretion in allowing the
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     prior conviction as impeachment of the defendant’s testimony. Id.
23
           In the present case, the credibility of the Defendant, if he chooses to testify, is
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     of paramount importance. The jury should have all the information, including the
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     Defendant’s prior felony convictions, which reflect on the Defendant’s credibility.
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 1                                        CONCLUSION
 2         It is requested that this Court determine whether the probative value of the
 3 Defendant’s prior conviction evidence outweighs the possibility of prejudice. The

 4 facts of the present case indicate that credibility of the Defendant is likely to be a

 5 paramount issue. Thus, if the Defendant intends to exercise his right to testify in

 6 support of his case, it would be unfair and misleading to the jury to allow the

 7 Defendant to appear as a pristine and innocent witness who lacks any previous

 8 criminal background. In such circumstances, the Defendant’s prior convictions are

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     probative of credibility.

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           For the foregoing reasons, the Government requests that this Court allow the
     Government to use the Defendant’s prior felony convictions as impeachment evidence
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     should he testify at trial. If the defendant chooses to testify at trial, the Government
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     seeks to impeach the defendant with the felony criminal convictions noted above,
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     which satisfy the five requirements, and in which the probative value outweighs any
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     prejudicial effect.
15

16
           Respectfully submitted this 16th day of January, 2020.
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18
                                      William D. Hyslop
19                                    United States Attorney
20
                                      s/ Thomas J. Hanlon
21                                    THOMAS J. HANLON
                                      Assistant U.S. Attorney
22

23                                    s/ Richard C. Burson
                                      RICHARD C. BURSON
24
                                      Assistant U.S. Attorney
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 2         I hereby certify that on January 16, 2020, I electronically filed the foregoing
 3 with the clerk of the Court using the CM/ECF System which will send notification of

 4 such filing to the following: Richard A. Smith

 5

 6

 7                                          s/ Thomas J. Hanlon
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